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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                              :        Chapter 13
 Frederick Paul Mraz                                 :       Bky. No. 23-12132-AMC
 aka Fred Paul Mraz
 aka FPM Investments,LLC                             :

                           Debtor(s)

                     ORDER DISMISSING CHAPTER 13 CASE

       WHEREAS, the Debtor(s) has/have filed a Letter/Praecipe to Dismiss Case (which shall

be treated as a Motion filed under 11 U.S.C. § 1307(b), Fed. R. Bankr. P. 1017(f) and 9013),

requesting dismissal of this case and the court has considered the record, and finds that the case

has not been converted previously under 11 U.S.C. § 706, 1112 or § 1208,

       It is hereby ORDERED that any wage orders presently in effect are VACATED and this

case is DISMISSED.




    Date: August 3, 2023                     ASHELY M. CHAN
                                             U.S. BANKRUPTCY JUDGE
